IN THE UNITED STATES DISTRICT COURT
FOR TI-IE EASTERN DISTRICT OF TENNESSEE
AT K.NOX§ZILLE

TI“"IOMAS GIRDLESTONE,
Plainti;ff,

Civil No. 3:09~€\7»530
Phillips / Shirley

V.

ACE LIMITED, a / k/ 21 ACE GROUP &
ACE- WES'I"CHESTHR, d/b/a ILLINOIS
UNION INSURANCEl

\,/\_/\_/\/\_/\_/\/\./\_/\/\/

_Defendzmts.

STIPULATION OF DISMISSAL
Pursuant to Rule 4`1(:1)(1)(1\)(ii) cf the Federal Rules <)f Civi] Procedux:e, the Plaintiff, Thomas
Girdlestone, hereby DISMISSSES WI'I`I~‘IOUT PRH]‘UDICE the above entitled and captioned action
Ea<;h par ' xvil£ bear their wm attorn<:‘y’$ fees and discretionary costs.

z xv
espectfully

gyr”
bmitted_, this the day of November 2011,

    

 

 

l/'I`homas Gix/:Ifest<m, Pro LS`(.' '. err \L Bo\m_gan ' R 017266)
201 Perimeter Pa.rk Drive, Suite A Betsy]. Beck (BPR # 2863)
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(Att<)rney for Defendant)

Gregory' \X’. Brown

(NC BAR # 26238 /V:\ Bar # 36369)

Jessica C. Tyndall

G\IC BAR # 28745/3€ Bar # 76427)

Brown Law LLP

5410T1‘1'nity Road, Suit€ 116

'Ra]eigh, North Carolina 27607

(atitomey for defendant / ¢z¢!?m'z‘f(.'d pm hac vice Moiz'orl\s'

 

iPm.-suunt to this }-Iono.rnble Cc)urt’s Order dated A.ugust 25, 2010 (R. 24), Illin<.)is Union Insumnce Compzmy has been
substituted for ACE Limited as the proper party defendant

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